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 ATTACHMENT
      4
Defendant’s Updated Proposed Verdict Form
   and Objections to Plaintiffs’ Proposed
               Verdict Form
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     ATTACHMENT I-2(a) – DEFENDANT’S PROPOSED VERDICT FORM

                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 ARCONIC      CORPORATION,             and )
 HOWMET AEROSPACE INC.               (f/k/a )
 Alcoa Inc.),                               )
                                            )       Civil Action No.:
   Plaintiffs and Counterclaim-Defendants, )        1:15-cv-01466-JPB
                                            )
         v.                                 )
                                            )
 UNIVERSAL ALLOY CORPORATION, )
                                            )
   Defendant and Counterclaim-Plaintiff.    )
                                            )
                                            )
                                            )

             DEFENDANT'S UPDATED [PROPOSED] VERDICT FORM

I.      Trade Secrets – Misappropriation of a Trade Secret

Do you find by a preponderance of the evidence that:

        1.     The Claimed Trade Secrets are Arconic’s property?

                     Answer Yes or No _____________

If your answer is "No," this ends your deliberations, and your foreperson should
sign and date the last page of this verdict form. If your answer is "Yes," go to the
next question.

        2.     The Claimed Trade Secrets are not generally known to another person

who can obtain economic value from their disclosure or use?

                     Answer Yes or No _____________
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If your answer is "No," this ends your deliberations, and your foreperson should
sign and date the last page of this verdict form. If your answer is "Yes," go to the
next question.
      3.     The Claimed Trade Secrets are not readily ascertainable through

proper means?

                   Answer Yes or No _____________

If your answer is "No," this ends your deliberations, and your foreperson should
sign and date the last page of this verdict form. If your answer is "Yes," go to the
next question.

      4.     The Claimed Trade Secrets derive economic value, actual or potential,

from not being known to, and not being readily ascertainable by proper means by,

other persons who can obtain economic value from its disclosure or use?

                   Answer Yes or No _____________

If your answer is "No," this ends your deliberations, and your foreperson should
sign and date the last page of this verdict form. If your answer is "Yes," go to the
next question.

      5.     Arconic used efforts that were reasonable under the circumstances to

maintain the secrecy of the Claimed Trade Secrets?

                   Answer Yes or No _____________

If your answer is "No," this ends your deliberations, and your foreperson should
sign and date the last page of this verdict form. If your answer is "Yes," go to the
next question.
      6.     Acquired, Used or Disclosed; Improper Means:

             (a)   UAC acquired the Claimed Trade Secrets and knew or should

have known that the Claimed Trade Secrets were acquired by improper means?
                                          2
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                    Answer Yes or No _____________

             (b)    UAC used or disclosed the Claimed Trade Secrets without

express or implied consent, and UAC used improper means to acquire knowledge

of the Claimed Trade Secrets?

                    Answer Yes or No _____________
             (c)    UAC used or disclosed the Claimed Trade Secrets without

express or implied consent, and at the time of disclosure or use, UAC knew or

should have known the Claimed Trade Secrets were derived from or through a

third person who used improper means to acquire the Claimed Trade Secrets?

                    Answer Yes or No _____________

             (d)    UAC used or disclosed the Claimed Trade Secrets without

express or implied consent, and at the time of disclosure or use, UAC knew or

should have known the Claimed Trade Secrets were acquired under circumstances

giving rise to a duty to maintain its secrecy or limit its use?

                    Answer Yes or No_____________

             (e)    UAC used or disclosed the Claimed Trade Secrets without

express or implied consent, and at the time of disclosure or use, UAC knew or

should have known the Claimed Trade Secrets were derived from or through a

person who had a duty to Arconic to maintain the secrecy of the Claimed Trade

Secrets or limit use of Claimed Trade Secrets?


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                    Answer Yes or No _____________

             (f)    UAC used or disclosed Claimed Trade Secrets without express

or implied consent, and before a material change of position, UAC knew or should

have known that Claimed Trade Secrets were a trade secret and that knowledge of

them had been acquired by accident or mistake?

                    Answer Yes or No _____________

If your answer is "Yes" to any of the subparts of this question (6(a)-(f)), go to the
next question. If your answer is "No" to all subparts of this question (6(a)-(f)), this
ends your deliberations, and your foreperson should sign and date the last page of
this verdict form.
II.   Trade Secrets – Affirmative Defense – Statute of Limitations

Do you find by a preponderance of the evidence that:

      7.     Arconic discovered, or should have discovered through the exercise of

reasonable diligence, the claimed misappropriation before November 17, 2009?

                    Answer Yes or No _____________

If your answer is “Yes,” this ends your deliberations, and your foreperson should
sign and date the last page of this verdict form. If your answer is “No,” go to the
next question.




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III.   Trade Secrets – Affirmative Defense – Lawful Means of Acquisition

Do you find by a preponderance of the evidence that:

       8.    UAC lawfully acquired Arconic’s trade secret by independent

development?

                   Answer Yes or No _____________

If your answer is “Yes,” this ends your deliberations, and your foreperson should
sign and date the last page of this verdict form. If your answer is “No,” go to the
next question.
IV.    Trade Secrets – Damages – Compensatory

       9.    What, if anything, do you the Jury award in damages for Arconic as a

result of UAC’s misappropriation of Claimed Trade Secrets?

                   $_____________

V.     Trade Secrets – Damages – Exemplary

       10.   Do you find that UAC willfully and maliciously misappropriated

Arconic’s Claimed Trade Secrets?

             Answer Yes or No __________




       This ______ day of _________, 2023.



                                                 ____________________________
                                                 FOREPERSON


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                              ATTACHMENT I-2(b)

               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 ARCONIC      CORPORATION,             and )
 HOWMET AEROSPACE INC.               (f/k/a )
 Alcoa Inc.),                               )
                                            )         Civil Action No.:
   Plaintiffs and Counterclaim-Defendants, )          1:15-cv-01466-JPB
                                            )
         v.                                 )
                                            )
 UNIVERSAL ALLOY CORPORATION, )
                                            )
   Defendant and Counterclaim-Plaintiff.    )
                                            )
                                            )
                                            )

 UNIVERSAL ALLOY CORPORATION’S UPDATED OBJECTIONS TO
          PLAINTIFFS’ PROPOSED VERDICT FORM

      UAC objects to Arconic’s proposed verdict form as it is inadequate to

address the numerous and complex issues to be put to the jury, and stands in stark

contrast to the detailed Special Interrogatories to the Jury in the Eleventh Circuit

Pattern Jury Instructions. Judge Boulee’s instructions express a preference for the

use of the Eleventh Circuit Pattern Jury Instructions for trial materials such as the

requests to charge. Arconic’s proposed verdict form, which consists of only a

single question to the jury on the issue of liability for trade secret misappropriation,

a single question on the issue of damages, and a single question relating to
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exemplary damages, is completely lacking in this regard. UAC has proposed a

verdict form that largely tracks the special interrogatories in the Eleventh Circuit

Pattern Instructions as to the predicate factual findings that the jury must make in

order to find that UAC has misappropriated Arconic’s trade secrets, and as to the

jury’s determination of appropriate damages.

      Contrary to Arconic’s suggestion, UAC’s proposed verdict form would not

be difficult or impossible for jurors to understand, but rather would act as a

checklist for the jury to ensure that they are making all the necessary decisions on

all the matters at issue in the case, in such a way that a comprehensive record of

the jury’s conclusions will exist at the end of the case. The parties currently

contemplate, in their Proposed Requests to Charge, that the jury will be instructed

on the law as to each element of a claim of trade secret misappropriation, and as to

each category of damages that Arconic may recover should misappropriation be

proven. The elements of such a claim have also been discussed at length during

the course of trial in this matter. UAC’s proposed form serves as a reminder of,

and invites careful consideration of, the elements that a jury must find satisfied in

order to reach a verdict of trade secret misappropriation under Georgia law, in the

manner contemplated by the Eleventh Circuit’s Special Interrogatories.




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